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AFFIDAVIT OF ERIC DETERS

Comes now the affiant, after being duly sworn and cautioned states as follows:

1.

Affiant, under oath, will attest that Rob Sanders conduct and actions as the Kenton
County Commonwealth Attorney trouble him. Affiant believes he’s a dangerous
prosecutor. Many will claim it’s a political issue. Affiant maintains it is a political issue,
but that it is also a legal issue. It’s not a personal issue. Up and until the Terry Williams
case, affiant had no issue with Rob Sanders.

Affiant is not an insecure person. That fact will not shock anyone. Affiant has no time
or reason to file any lawsuit to harass, annoy and cause inconvenience. Affiant does

and will file a lawsuit and litigate claims in the cause of righting wrongs and pursuing
justice for clients who have no other recourse.

The attached affidavits detail the history of a group of lawyers who serial bar complaint
and file Rule 11 Motions against affiant. There is a connection between all of them.

The objective is to cause affiant personal and professional harm. It irritates them when
affiant soldiers on and is still willing to take on powerful interests. The conspirators
objective is to cause affiant to wimper and walk wounded back on the porch. They

have even contacted 700 WLW (unsuccessfully) to harm him there.

The modus operandi of the group - file a Rule 11, take a shot, if they are fortunate to
find a favorable Court, for whatever basis, they send it to the press. They repeat this

process over and over again. They file baseless serial bar complaints too. Affiant
 

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believes as they slowly add one judge to the cause, other judges simply conclude - well
he must be doing things wrong. In fact, that’s exactly what Bill Robinson is doing in his
Brief. In the Terry Williams case, Chris Nordloh filed a Rule 11 against him before
Judge Bunning even overruled the Motion for Summary Judgment. Is that Rule 11?
Chirs Nordloh is the same lawyer involved in the Summe sanction.
5. Phil Taliaferro recruits bar complaints. Randy Blankenship told Phil Taliaferro about a
time Randy and I got in a shouting match at a negotiation (Randy and I get along fine.
We went to law school together.) Phil encouraged Randy to file a bar complaint.
Randy told me this story.
6. Bob Carran has told Dennis Alerding, Sr. my legal career is over. (My fight with the
Bar Association involves baseless matters which do not jeopardize my legal career.)
7. Rob Sanders is the one with a personal vendetta and conducts “vexatious” actions
against affiant, including:
A. He libeled me on facebook about committing legal malpractice.
B. During Thanksgiving time, Rob posted on his facebook a turkey with my head
on it with bullet holes in it. (This from a public elected public official.)
Cc, He filed a Bar Complaint against me over the Nicole Howell file. It was
dismissed.
D. His father filed a Bar Complaint against me for suing Rob for libel and claiming I
said something false in a pleading. (Not true.)

8. Under oath, affiant relates the following story which summarizes Rob Sanders as a

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prosecutor.
A young boy, four years old, was molested by a daycare worker. The daycare
worker was given probation by Rob Sanders. There was no prison time. The father
of the boy told affiant he and the mother were not involved in the probation decision.
Later, the father was charged by Rob Sanders with a felony on an unrelated matter.
Rob demanded three years to serve and five years probation to his lawyer, Deb Davis.
The father came to see me to try the case because that’s what I do, try cases. We
learned Rob Sanders told the victim’s advocate or someone told the victim’s advocate
that if the father fired me and hired Debbie Davis, he’d offer felony diversion. I had
him fire me. He hired Debbie Davis at my request and he received felony diversion. I,
not Rob Sanders, puts justice for a man ahead of ego.
Ihave a great law practice, good health, a growing radio career, business interests and
a wonderful family and great friends. I could care less about Rob Sanders, but for how
he prosecutes innocent people. Nicole, Steven and Terry are examples of innocent
people being charged with crimes that Rob Sanders knew or should have known to be
imnocent. It’s scary. ’'m being accused of cavalier conduct when he’s a cavalier
prosecutor.
The vile, mean, disgusting and false statements left on blogs about affiant are
remarkable. Every time there is an article printed by the Enquirer, written by Rob
Sanders friend Jim Hannah, the same cowards log onto the blogs and slander and libel

affiant. Affiant has attacked Rob Sanders with his conduct as a prosecutor. He has

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12.

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never attacked his family, his wife or his personal life. (Affiant takes comfort 700

WLW reaches three times the audience in a week as the Enquirer.)

As far as deterrence, affiant informed this Court he would not file any more lawsuits
against Rob Sanders subject to the ruling in the Sixth Circuit on the Nicole Howell case.
Affiant finds it interesting that despite having more cases in Hamilton County and the
Southern District of Ohio than in Northern Kentucky (bigger county), no lawyer in
these matters has ever, to affiant’s recollection, even filed a Motion for Rule 11 or
sanctions against him. So, affiant is a “good lawyer” over there and a “bad lawyer”
here?

Affiant has a history with Bill Robinson too. It’s funny. It goes all the way back to
when Bill challenged the old law firm to a flag football game. Affiant was a law clerk.
Affiant was the quarterback and we beat Bill’s firm 10 touchdowns to 2. Bill called
Gerald Benzinger the next day to complain about affiant arguing with him.

The stories are endless. This week affiant learned a lawyer is “investigating” affiant’s
relationship with a chiropractor affiant refers cases to. Affiant must assume it is to
check if there were kickbacks or something. (There isn’t.) A lawyer actually called an
employee of mine who worked for the chiropractor. It’s hilarious.

Someone has sent to lawyers the transcript of my hearing in front of Judge Reeves. My
associate received a note from a professor at Chase about it. Her friend received a
copy of it. They are even trying to hurt me with my staff. (I attach a copy of my letter

to Richard Bales.) I also attach the affidavit in the Reeves matter. This explains that

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16.

17.

18.

case. Respectfully, affiant believes Judge Reeves is mistaken on a couple legal points.
Bill Robinson has attempted to poison affiant with the Court. Affiant is hopeful this
information helps the Court to understand what is really going on in the legal community
against affiant. Affiant has two choices - retreat or fight. He will fight.

Affiant asks the Court, as the Court has always done to affiant, use its discretion not to
sanction affiant.

What does it say about me and how my clients love me that after the publication of the
Summe sanction, I lost no clients and the calls still pour in. After two brutal articles by
the Enquirer on the Judge Reeves matter, I lost no clients as a result of the articles. I

am a credit to my profession and the public needs lawyers like me.

Further affiant saith naught.

\s\Eric C. Deters
Eric C. Deters

STATE OF KENTUCKY _ )

) ss:

COUNTY OF KENTON )

Subscribed and sworn to, before me, a Notary Public, in and for said County and State, on this

day of February, 2011.

\s\ Loretta Little
NOTARY PUBLIC STATE AT LARGE
My Commission Exp.: December 5, 2011

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Ba Attorneys

§ Licensed in

9 Kentucky, Ohio
and Florida

    

 

Attorneys At Law
Eric C. Deters
Charles T. Lester, Jr.
Brian P. Gillan
Geoffrey P. Damon

Diane M. Brown
Laura A. Tholke February 9, 2011

Mr. Richard Bales

Chase Law School

Northern Kentucky University
Nunn Drive

Highland Heights, KY 41099

RE: Attached

Dear Mr. Bales:

I'm writing to you regarding the note you wrote to Ashley Bolender. Amusing. I note you
wrote it on the Center for Excellence in Advocacy notecard. Allow me to advocate a little.

Ashley Bolender law clerked for me. We share a raised on the farm background, passion to
help others and propensity to speak colorfully if you know what I mean. She was my favorite and most
talented law clerk of probably nearly fifty law clerks from Chase Law School who I helped with a job
over the past ten years. I went to Chase, my brothers went to Chase, I believe the six lawyers I
employ all went to Chase, all my clerks went to Chase and my daughter was just accepted into Chase.

Ashley is my police and jail misconduct associate. It’s all she does for me. She does an
outstanding job.

Any person who would read the transcript you sent to Ashley (she already had read it because
I had it transcribed), would be able to determine I never threw Ashley under a bus. In fact, as reflected
by the Affidavit I filed, Ashley's research was not wrong. Judge Reeves made two mistakes.

I find it beyond offensive that you would send her such a note and state you hoped she wasn't
still working for me. She even tells me she doesn’t know you. What is so bad about working for me?
You don’t know me. I suppose with the help of 7OOWLW, I’m the most recognized lawyer in the tri-
state now. Cases roll in the door. They roll in the door despite my enemies libels and slanders and my
public battles. And, I take great care of them. My clients love me. I lost no clients over the Enquirer
articles about Judge Reeves. I'll resist the details of how I treat clients better than any lawyer I know.
You can go to 700WLW.com and on my blog read my bio or ericdeters.com to study up on me. You
obviously have great interest on Eric Deters.

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You claim to be the head of Advocacy at Chase? I've tried more Plaintiff's cases than any
lawyer the last ten years in Kentucky according to the Kentucky Trial Court Review. Throw in my
Ohio cases and my criminal cases and | bet I’ve tried more cases than anyone in the Tri-State the last
twenty five vears.

Every single day I tight for clients in causes across the board. I take cases pro bono, I discount
tees and I take risks others don’t take. I’m even willing to publicly fight the Bar Association and sue
prosecutors who believe immunity should shield them from misconduct.

My claimed misconduct? Doesn't involve dishonesty. a crime, malpractice, moral turpitude or

any shameful act. It all just involves jealous enemies consistent with people like you who write notes
and read transcripts.

You're a small pathetic man. I challenge you to a debate anywhere, anytime on any subject
matter. Let’s debate whether water is wet? I'll take the dry side.

On a final note. because I attended Chase, employ Chase graduates and students, and my
daughter will be attending Chase, I will not publicly attack you or your advocacy Center. It’s so
tempting to make vou a Jackwagon on my radio show. I don’t belong to the “club” on purpose. Not
me. Not my style.

[I will close with a funny story. Greta Hoffman taught a class last year at Chase and asked me
to speak at the class. A couple of my law clerks were in the class and several of my enemies law
clerks were in the class. It was crowded. I came and spoke. Later, I was told by Greta that the
students claimed I was the best speaker they had heard their entire law school career. Two of my
enemy law clerks sent emails of praise. The moral of the story- having lawyers like me out there is a
good thing, not a bad thing for our profession.

From our Bar Association to Chase, our profession is filled with stuffy, stiff, “better than vou”,

boring. jealous, phoney, afraid to take a risk lawyers. It’s worse, not better because of it. I'll continue
to provide some color and battle on. I’m hopeful Ashley will be along for the ride and Erica will join
me soon.

Loval and Grateful to Chase,

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ec: Dean Dennis Honabach

 
 

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N«U CHASE

COLLEGE OF LAW

Center for Excellence
in Advocacy

 

 

 
 

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